                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                CRIMINAL NO. 1:03CR110-1


UNITED STATES OF AMERICA     )
                             )
                             )
          VS.                )                               ORDER
                             )
                             )
APRIL DIANN WILLIAMS JACKSON )
                             )


       THIS MATTER is before the Court on the Defendant’s motion for credit toward her

period of incarceration for time spent on pretrial release. The motion is denied.

       The Attorney General of the United States, not the sentencing court, has the authority to

compute the amount of presentence credit. United States v. Wilson, 503 U.S. 329 (1992). A

challenge to the computation of a sentence must be brought in the district of confinement.

United States v. Odiana, 7 F.3d 1227 (table), 1993 WL 359159 (4th Cir. 1993) (citing United

States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989)).

       Assuming arguendo that this Court had jurisdiction to entertain the motion, it would be

denied. Title 18 U.S.C. § 3585(b) provides in pertinent part:

       A defendant shall be given credit toward the service of a term of imprisonment for
       any time he has spent in official detention prior to the date the sentence
       commences-
               (1) as a result of the offense for which the sentence was imposed . . .
       that has not been credited against another sentence.




     Case 1:03-cr-00110-MR-DLH            Document 37        Filed 05/11/05     Page 1 of 3
                                                 2

       Defendant argues she should be given credit for time spent on pretrial release under the

conditions of bond release because those conditions constituted restrictions on her freedom

equivalent to detention.

       Conditions of release are not custody. “For the purpose of calculating credit for
       time served under 18 U.S.C. §3585, ‘official detention’ means imprisonment in a
       place of confinement, not stipulations or conditions imposed upon a person not
       subject to full physical incarceration.”

United States v. Insley, 927 F.2d 185, 186 (4th Cir. 1991) (quoting United States v. Woods, 888

F.2d 653, 655 (10th Cir. 1989)). This Circuit has also denied credit for time spent in a substance

abuse treatment center, rejecting the prisoner's arguments that a broad definition of “official

detention” should include time released on bond based on the “degree of restraint” to which the

defendant was subjected during pretrial release. Randall v. Whelan, 938 F.2d 522 (4th Cir.

1991); accord, United States v. Bowe, 309 F.3d 234, 239 (4th Cir. 2002).

       IT IS, THEREFORE, ORDERED that the Defendant’s motion is hereby DENIED.




     Case 1:03-cr-00110-MR-DLH             Document 37        Filed 05/11/05      Page 2 of 3
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                        Signed: May 11, 2005




Case 1:03-cr-00110-MR-DLH   Document 37    Filed 05/11/05   Page 3 of 3
